     Case 1-13-44897-ess    Doc 45   Filed 07/12/19   Entered 07/12/19 10:06:46




BALISOK & KAUFMAN, PLLC                      Hearing Date:      July 17, 2019
Attorneys for Debtor                         Hearing Time:      3:00 p.m.
251 Troy Avenue
Brooklyn, New York 11213
(718) 928-9607
Joseph Y. Balisok, Esq.


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                           X
In re:                                     :
                                           :          Chapter 7
         FEIGE GREEN                       :          Case No.: 1−13−44897−ess
                                           :          Judge: Stong, Elizabeth
                           Debtor.         :
SS No.: xxx-xx-6529                        :
                                           X




 MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEBTOR’S MOTION TO
          REOPEN HER CHAPTER 7 BANKRUPTCY CASE



                            BALISOK & KAUFMAN, PLLC
                                 251 Troy Avenue
                             Brooklyn, New York 11213
                                Attorneys for Debtor
      Case 1-13-44897-ess        Doc 45     Filed 07/12/19     Entered 07/12/19 10:06:46




I.     PRELIMINARY STATEMENT

       This memorandum of law is in further support of Debtor’s motion to reopen this

bankruptcy case. As the Court already knows, the instant motion sequence arises from

Respondents’ malevolent and bad-faith prosecution of an religious arbitration proceeding and later

state-court confirmation action seeking to recover an alleged debt arising from an alleged breach

of contract.

       Petitioner’s two prior submissions fully demonstrated that Respondents’ conduct violated

the discharge injunction. This memorandum further explains why the doctrines of res judicata and

collateral estoppel have no bearing on this case. In short, these doctrines are inapplicable because

the primary issue before the court is whether the alleged debt is fraud-based and thus non-

dischargeable under 11 U.S. Code § 523(a), as Respondents argue in their opposition. This, of

course, was never the issue presented in either the religious arbitration or the state court action,

which concerned none of the non-dischargeable debts discussed in Section 523.

       The issue of dischargeability—but none of the newly fathomed fraud claims—was raised

in the state court case. Respondents argued that the debt was exempted from discharge since it was

not listed on the schedules. However, the state court never addressed the necessity of including a

dischargeable claim in the schedules. Upon seeking to reopen the case in this Court, our motion

argued that was no need to include the alleged debt in the schedules because, in no-asset Chapter

7 cases, debts are automatically discharged even if not listed in the schedules.

       The first time the issue of non-dischargeability based on the § 523(a) exceptions was raised

was only after the state court made its decision, and at that, only in there memorandum in

opposition to our motion to reopen. This is markedly different approach than the one taken in state



                                            Page 2 of 33
      Case 1-13-44897-ess         Doc 45      Filed 07/12/19     Entered 07/12/19 10:06:46




court. Therefore, this issue—which is the crux of the entire case at hand—was never decided by

that court, so neither res judicata nor collateral estoppel apply.

       It is also necessary to address the arguments made by Respondents in their Supplemental

Affirmation, where they repeatedly note that Debtor moved to reopen the case. The emphasis they

place on the fact that Debtor was the one who technically moved to reopen is not only irrelevant,

but also misleading. It is irrelevant because it has no bearing on collateral estoppel. In order for

res judicata or collateral estoppel to apply, there is a specific set of criteria that must be met and

the question of who raised (or failed to raise) an issue is irrelevant to a finding of whether these

doctrines apply. Second, this repeated emphasis is misleading because it pretends to lay the

decision to litigate outside of bankruptcy court on the Debtor. In fact, it was the Respondent who

forced the Petitioner into the religious court of arbitration, and it was again the Respondent who

filed a petition with the state court to enforce the arbitration award. Petitioner merely engaged in

the litigation she was dragged into.

       Before 1970, the question of the dischargeability of individual debts was within the state

court’s jurisdiction. But because of abuses by overzealous creditors, which undermined the

discharge of the bankrupt, Congress gave the bankruptcy courts exclusive jurisdiction to decide

questions of dischargeability. This case is exactly the type of abuse the amendments sought to

prevent. Respondents sat on a claim which, accepting their claims as true arguendo, would have

accrued more than ten years before the bankruptcy discharge, but only attempted to recover it over

a year after the discharge. Their strategy to circumvent the bankruptcy discharge was to sue Debtor

in a religious arbitration in which bankruptcy law played no role. They knew Petitioner would

appear because she is a devoutly observant Jew who would face significant consequences within

the religious community—including potential excommunication and public shunning—if she

                                             Page 3 of 33
         Case 1-13-44897-ess           Doc 45      Filed 07/12/19       Entered 07/12/19 10:06:46




failed to appear. Moreover, under Jewish law, regardless of her participation, Petitioner would

have been bound by any ex-parte rulings of the religious court, and its sanctions would have

affected her and her family. So, in effect, she was forced to participate.

           In light of these facts, this court should reopen this bankruptcy case to actually litigate the

question of dischargeability, to admit evidence to see whether the alleged debt was incurred

through fraud, and to provide sanctions for violating the Discharge Order. For these reasons, more

fully stated below, Debtor respectfully asks this Court to grant the aforementioned motion to

reopen this bankruptcy case.

II.        FACTUAL BACKGROUND

           The Court is respectfully referred to the previous submission on this motion sequence.

III.       LEGAL ARGUMENT

        A. Respondent’s Claim that Debt is Non-Dischargeable Since it was not Listed in the
           Debtor’s Schedules is Unsubstantiated by Bankruptcy Law.
         In arguing that their claim was not discharged because neither the petition nor discharge

order listed Respondent as a creditor, Respondent references Shun Lun Wu, in which the court

found that the omitted debts were not discharged.1 However, this case is not analogous to Shun

Lun Wu since that was a Chapter 11 case, and the instant case is a no-asset Chapter 7 case. There

are, of course, different exceptions to dischargeability of claims with regards to notice

requirements. Indeed, as the court in Shun Lun Wu acknowledged, although section

523(a)(3)(A) applies in both chapter 7 and chapter 11 cases, notice principles are applied

differently depending on the chapter. Since the entire argument is premised on the notice

requirements, this is a core issue which differentiates the instant case from Shun Lun Wu.




1
    Shun Lun Wu v. May Kwan Si, Inc., 508 B.R. 606, Bankr. L. Rep. P 82,588.
                                                  Page 4 of 33
         Case 1-13-44897-ess              Doc 45       Filed 07/12/19         Entered 07/12/19 10:06:46




           In no-asset Chapter 7 cases in which creditors receive the typical notice that they should

not file claims (see Official Form 309A), courts have held that all otherwise dischargeable claims

are discharged even if not listed in the debtor’s schedules.2

           The rationale is straightforward: there is simply no prejudice. After all, the only notice that

the unscheduled creditors holding such claims miss is a notice to not file a proof of claim and a

notice of a deadline for dischargeability objections which such creditors do not have. The same

lack of prejudice has been applied in the context of reopening no-asset cases to schedule

inadvertently omitted creditors3. Courts have held that in such cases there is no need to amend the

schedules because the debt is already discharged by operation of law.4

           Since Petitioner’s bankruptcy case was a no-asset Chapter 7 case in which the alleged claim

had accrued before the bankruptcy, the omission of the claim from the schedules does not support

the argument of non-dischargeability.

           If Respondents now want to argue that their claim is non-dischargeable under 523(a)(3)(B)

and is therefore without the exception to omission from the schedule, this is a novel issue has not

been, but would have to be, properly litigated, adjudicated, and decided. Indeed, Respondents

never once made this argument before submitting their opposition brief on the instant motion

sequence.




2
  In re Parker, 313 F.3d 1267 (10th Cir. 2002) (debtor’s intent in failing to list claim is irrelevant); In re Madaj, 149 F.
3d 467 (6th Cir. 1998); Judd v. Wolfe, 78 F.3d 110 (3d Cir. 1996); In re Beezley, 994 F.2d 1433 (9th Cir. 1993); In
re Karras, 165 B.R. 636 (N.D. Ill. 1994) (debt dischargeable in no asset case even if debtor intentionally failed to
schedule it); In re Anderson, 104 B.R. 427 (Bankr. N.D. Fla. 1989); In re Mendiola, 99 B.R. 864 (Bankr. N.D. Ill.
1989); In re Smolarick, 56 B.R. 720 (Bankr. W.D. Va. 1986).
3
    See In re Stone, 10 F.3d 285 (5th Cir. 1994).
4
 See, e.g., In re Parker, 313 F.3d 1267 (10th Cir. 2002) (debtor’s intent in failing to list is irrelevant); In re Madaj,
149 F.3d 467 (6th Cir. 1998); In re Beezley, 994 F.2d 1433 (9th Cir. 1993); In re Stecklow, 144 B.R. 314 (Bankr. D.
Md. 1992); In re Thibodeau, 136 B.R. 7 (Bankr. D. Mass. 1992).
                                                      Page 5 of 33
         Case 1-13-44897-ess             Doc 45       Filed 07/12/19        Entered 07/12/19 10:06:46




           Of course, the appropriate venue to decide this question would be in Bankruptcy Court

since Congress entrusted questions of dischargeability to their discretion.5 When a creditor seeks

to collect its debt by suing a debtor in state court for not being listed on the schedule, such a case

is properly removed to bankruptcy court once the affirmative defense of the discharge is raised.6

In this case, Petitioner raised the discharge defense and included the Order of Discharge in her

exhibits in state court, providing the basis to remove the case to bankruptcy court. This Court

should therefore reopen the case to decide the question of non-dischargeability.

         B. Neither Res Judicate not Collateral Estoppel Preclude this Court from Considering
            Whether the Alleged Debt Was Discharged.
           The prior state court decision between the parties involved a question of fact of whether

the Petitioner owes the Respondent money—not whether the debt was discharge or exempted from

discharge for fraud. Accordingly, the principles of res judicata and collateral estoppel do not apply

here. Indeed, the interests underlying the related doctrines of collateral estoppel and res judicata

are that a “right, question or fact distinctly put in issue and directly determined by a court of

competent jurisdiction . . . cannot be disputed in a subsequent suit between the same parties or

their privies . . . .”7 This memorandum will discuss the applicability of each doctrine in turn.

              1. Res Judicata

               i.    Res judicata does not apply to the instant case according to the definition of res
                     judicata as barring a claim by the same parties on the same cause of action.




5
    Brown v. Felsen, 99 S. Ct. 2205 (1979).
6
 See In re Guseck, 310 B.R. 400 (Bankr. E.D. Wis. 2004) (debtor could reopen case to seek dischargeability of
nonscheduled debt in bankruptcy court).
7
    Southern Pacific R. Co. v. United States, 168 U.S. 1, 48-49; Montana v. United States, 440 U.S. 147, 153 (1979).
                                                     Page 6 of 33
         Case 1-13-44897-ess         Doc 45       Filed 07/12/19       Entered 07/12/19 10:06:46




          Under res judicata, a final judgment on the merits bars further claims by parties or their

privies based on the same cause of action.8 In other words, res judicata applies when the identical

cause of action to a previous suit is raised as the basis of a cause of action in a second suit.

However, res judicata does not preclude litigation of a second suit on a different cause of action.9

          In this case, Petitioner’s suite is based on a cause of action that is distinct from the cause

of action which was decided in state court. There, arguments by the parties centered specifically

on whether a distinct financial debt was owed to one party by another—namely, the cause of action

was based on the claim that a contract existed between the parties and that the Petitioner breached

that contract. In contrast, the cause of action that the current case is based on is whether the alleged

debt owed by the Petitioner was discharged under the general discharge order, or conversely,

whether this claim is considered non-dischargeable for fraud under section 523(a)(4).

          Clearly, the cause of action in the state suit was not based on the question of non-

dischargeability based on fraud, since the issue of fraud was never raised, let alone litigated and

decided in that suit. As a matter of fact, not only was the question of non-dischargeability based

on fraud not the cause of action in the state court, the Respondent never mentioned the fraud claim

in its original petition to the court on November 29, 2015, its Order to Show Cause on December

17, 2015, its affirmations (both by Respondent and their attorney). Nor was the issue of fraud

raised in the court’s conformed copy of the Order to Show Cause on January 6, 2016 or its

judgment on August 25, 2015.




8
 Montana v. United States, 440 U.S. 147, 153 (1979); Cromwell v. County of Sac, 94 U.S. 351, 352, 24 L.Ed. 195
(1877); Lawlor v. National Screen Service Corp., 349 U.S. 322, 326, 75 S.Ct. 865, 867, 99 L.Ed. 1122 (1955); See
1B Moore’s Federal Practice ¶ 0.405[1], pp. 621-624 (2d ed. 1974) (hereinafter 1B Moore); Restatement (Second) of
Judgments § 47 (Tent. Draft No. 1, Mar. 28, 1973).
9
    1B Moore ¶ 0.401.
                                                 Page 7 of 33
         Case 1-13-44897-ess            Doc 45       Filed 07/12/19   Entered 07/12/19 10:06:46




           While Petitioner did present the Discharge Order as a defense in the state court, the

Respondents did not reply with an argument of non-dischargeability based on fraud; rather, the

Respondents argued that the claim was non-dischargeable based because they were omitted from

the schedules. And it is on this basis—omission of the alleged creditor from the schedules—that

the Graham Decision decided the question of the debt, and not on the claim of non-dischargeability

based on fraud. Actually, the issue of fraud was never raised until Petitioner sought to reopen this

case on the basis of litigating the question of dischargeability.

           Because Petitioner’s request to reopen the case is based on whether the claim is non-

dischargeable, and since this cause of action is distinct from the one on which the state suit was

based, this suit is not barred by res judicata.

           Furthermore, in agreeing to hear this case, this Court should not controvert the purposes

underlying res judicata, which serves to protect parties from the burden of relitigating matters

which they have had a full and fair opportunity to litigate in a prior case, and to foster reliance on

judicial action by minimizing the possibility of inconsistent decisions.10 Here, the issue of whether

the debt is a non-dischargeable fraud one has not been litigated and decided on the merits because

the state court case was simply to confirm the arbitration award, and not to litigate the question of

non-dischargeability based on fraud. Consequently, these parties never had “a full and fair

opportunity to litigate this issue in the prior case between them,” which is the premise upon which

the principle of res judicata rests.




10
     Montana v. United States, 440 U.S. 147, 153 (1979).
                                                    Page 8 of 33
           Case 1-13-44897-ess           Doc 45   Filed 07/12/19    Entered 07/12/19 10:06:46




            Res judicata secondly protects against the risk of decreasing reliance on judicial action due

to inconsistent decisions. This purpose is obviously not by application to this case since there is

no prior decision which the current court can contradict.

            In this manner, the instant case is analogous to Brown v. Felsen.11 There, the Supreme

Court determined whether a state court proceeding, which reduced a debt to judgment before

bankruptcy, would have a res judicata effect on a bankruptcy proceeding when the bankruptcy

court subsequently considered the dischargeability of the same debt under section 17a(2) of the

Bankruptcy Act, in which fraud is an element. In that case, the collection suit granted recovery to

the creditor against the debtor, and like the case at hand, neither the stipulation nor the resulting

judgment indicated the cause of action on which defendant’s liability to the plaintiff was based.

Subsequently, the creditor sought to establish that the debtor’s debt was not dischargeable because

of the debtor’s fraud.12 The debtor claimed that there was no finding of fraud in the prior state

court proceedings and that res judicata barred the bankruptcy court from litigating the issue. The

Supreme Court rejected defendant’s contention that res judicata should apply, holding that a

bankruptcy court is not limited to the judgment and record of a prior state court proceeding when

considering the dischargeability of a debt. 13 Further, the Court reasoned that in an ordinary

collection proceeding, considerations material to discharge are irrelevant. The creditor in a

collection proceeding is suing on the instrument which created the debt, and the cause of action is

for non-payment of the debt.14




11
     . Brown v. Felsen, 99 S. Ct. 2205 (1979).
12
     Id.
13
     Id.
14
     Id.
                                                  Page 9 of 33
       Case 1-13-44897-ess             Doc 45       Filed 07/12/19         Entered 07/12/19 10:06:46




         In the subsequent bankruptcy proceeding, the cause of action is based on the allegation that

the debt is not dischargeable, which in this case, as well as in Brown, is fraud. The instant case is

analogous to Brown in that it shares the main issue: whether the bankruptcy court can hear a case

in which a judgment has already been rendered in a prior court. As in Brown, since the cause of

action in the instant case is different from the one in the prior case, there is no bar to the Bankruptcy

court in deciding the issue of dischargeability based on fraud.

            ii.    A dischargeability cause of action is always separate and distinct from any state-
                   law cause of action.
         Even assuming, arguendo, that the cause of action in the present case is the same as that in

the former, courts have held that res judicata is necessarily inapplicable where the dischargeability

cause of action is separate and distinct from any state-law cause of action.15 Therefore, res judicata

does not apply to this case since the cause of action in the instant case is based on dischargeability,

and is therefore separate and distinct from the state court cause of action. Moreover, Congress

intended the dischargeability cause of action to be decided only in the bankruptcy courts (see more

below).16 Therefore, this court should reopen the case to decide the issue of dischargeability.

           iii.    Res judicata does not apply even when the cause of action is the same.
         Some courts have defined res judicata more stringently, holding that where the parties and

the cause of action are the same, the prima facie presumption is that the questions presented for

decision were the same unless it appears that the merits of the controversy were not involved in

the issue. The rule in such a case being that where every objection urged in the second suit was




15
  In re Rahn, 641 F.2d 755 (9th Cir. 1981); In re McKenna, 4 B.R. 160 (Bankr. N.D. Ill. 1980); In re Richards, 7 B.R.
711 (Bankr. S.D. Fla. 1980).
16
  In re Shuler, 722 F.2d 1253 (5th Cir. 1984); Carey Lumber co. v. Bell, 615 F. 2d 370 (5th Cir. 1980); In re Houtman,
568 F.2d 651 (9th Cir. 1978); In re Eskenazi, 6 B.R. 366 (B.A.P. 9th Cir. 1980).
                                                   Page 10 of 33
         Case 1-13-44897-ess            Doc 45     Filed 07/12/19        Entered 07/12/19 10:06:46




open to the party within the legitimate scope of the pleadings in the first suit, and that the whole

defense might have been presented in that trial, the matter must be considered as having passed in

rem judicatam, and the former judgment in such a case is conclusive between the parties.17 Except

in special cases, the plea of res judicata applies not only to points upon which the court was

actually required to form an opinion and pronounce judgment, but to every point which properly

belonged to the subject of the issue, and which the parties, exercising reasonable diligence, might

have brought forward at the time.18 Other courts have similarly defined res judicata as barring

second suits in which parties seek to raise issues which the party negligently omitted from its prior

case and which parties “exercising reasonable diligence, might have brought forward at the

time.”19

           Here, the cause of action is based on whether the alleged debt is non-dischargeable due to

fraud, while the cause of action in the state court was about whether there was a contract and

whether that contract was breached, with the subsidiary question of whether the debt was non-

dischargeable based on its omission from the schedules. However, even if the causes of action

were the same in this case, even this more stringent definition of res judicata would not apply since

the parties never had an opportunity to fully litigate the “merits of the controversy” as required by

the Outram Court.20 Unlike a standard trial in which questions are presented for decision and a

“whole defence might have been presented in that trial,” the state court did not hold a trial or a

hearing, or allow the parties to present papers, or in any rigorous manner examine the substantive




17
     Outram v. Morewood, 3 East, 358; Greathead v. Broomley, 7 Term, 452.
18
     2 Taylor, Evid. sect. 1513.
19
   Henderson v. Henderson, 3 Hare, Ch. 115; Bagot v. Williams, 3 B. & C. 241; Roberts v. Heine, 27 Ala. 678; Safford
v. Clark, 2 Bing. 382; Miller v. Covert, 1 Wend. 487.
20
     Outram v. Morewood, 3 East, 358.
                                                  Page 11 of 33
           Case 1-13-44897-ess           Doc 45     Filed 07/12/19   Entered 07/12/19 10:06:46




issues at hand or examine the underlying claims.21 Rather, the court followed the limited procedure

afforded arbitration confirmation proceedings. This type of proceeding, by its nature, limits the

parties from raising issues because in an action to enforce an arbitration award, a court’s objective

is to give effect to the arbitration agreement as a whole, and not to examine the justifications for

it. Therefore, there was no opportunity in “which the parties, exercising reasonable diligence,

might have brought forward” these issues, and rather than negligence or a lack of “reasonable

diligence,” the reason this issue was not raised was because there was no opportunity for it.22 Thus,

even under this narrow understanding of res judicata, res judicata would not bar the current suit.

            In Brown v. Felsen, the court rejected the respondent’s argument that res judicata barred

petitioner from raising new claims: “It makes little sense, however, to resolve a federal

dischargeability question according to whether or not the parties in state court waived their right

to engage in hypothetical litigation in an inappropriate forum.”23 Here, Respondents’ contention

that Petitioner waived her right to resolve the dischargeability question should also be rejected, as

the state court (as well as the religious court) was not the appropriate forum for questions of

dischargeability.

            Collier on Bankruptcy, in discussing whether obtaining a judgment prevents an inquiry into

the original nature of a debt under the 1903 amendments to the Act of 1938, speaks directly to the

issue this court now faces. “In general the reduction of a claim to a judgment does not affect its

nature as a nondischargeable debt, dischargeability being dependent upon the nature of the claim

behind the judgment.”24 “In order that a judgment based upon a fraudulent representation may be



21
     Id.
22
     See id.
23
     Brown v. Felsen, 99 S. Ct. 2205 (1979).
24
     Collier on Bankruptcy, Vol. 1A, 17.16(4), pp. 1643—6.
                                                   Page 12 of 33
           Case 1-13-44897-ess       Doc 45     Filed 07/12/19     Entered 07/12/19 10:06:46




excepted from the operation of a discharge, the record in the action must show that fraud and deceit

were the ‘gist and gravamen’ of the action.”25

            Here, while there is a judgment regarding the alleged debt, that does not preclude the court

from inquiring into the original nature of the debt, since there is ambiguity regarding the basis for

the prior court’s ruling, and certainly, the question of fraud was not the “gist and gravamen” of the

action.

              iv.   Res judicata does not apply to a different cause of action in which the issue is
                    different.
            Some courts have held that res judicata applies even when the cause of action in the second

suit differs from that in the prior suit. However even in those cases, the court requires that while

the cause of action need not be the same, the issue raised in the second suit must be identical to

the one decided in the prior suit. Norton v. Huxley, 13 Gray 285, 79 Mass. 285, 1859 WL 7319

(res judicata applies only when the point or question in issue is the same in both cases and the

judgment is conclusive in relation to all matters in the suit which were put in issue). The Norton

court held that a prior judgment has no effect upon questions not involved in the issue, and which

were neither open to inquiry nor the subjects of litigation. Id.

            In this case, the question of fraud as a basis for non-dischargeability, which would form

the point or question in issue before this court, was never granted a conclusive judgment; in fact,

the issue was never even raised in the prior court. Therefore even under this stricter standard of res

judicata illustrated by the Norton Court (that res judicata applies even when the cause of action in

the second suit is the same as that in the first suit), res judicata still would not apply in this case




25
     Id.
                                               Page 13 of 33
      Case 1-13-44897-ess             Doc 45      Filed 07/12/19        Entered 07/12/19 10:06:46




since the requirement in the Norton court for res judicata is that the point or question in issue be

the same, and here it is not.

        In the Petitioner’s Reply, the case of Allied Chemical was brought to illustrate the

requirements for estoppel. Allied Chem., an Operating Unit of Allied Corp. v. Niagara Mohawk

Power Corp., 72 N.Y.2d 271, 276 (1988). In their Supplemental Affirmation of Counsel (Doc. 44),

the Respondent referenced this case, however they failed to apply the case in a substantial or

relevant manner, but rather merely stated that the instant matter is estopped because a state court

already decided that the alleged debt is non-dischargeable based on its omission from the

schedules. The Respondent is correct in analogizing that case to the instant case, since in Allied

Chemical the court found that res judicata did not apply because the relevant issue had not been

previously decided and resolved by the court. Id. As in Allied Chemical, in the instant case, the

issue at hand – non-dischargeability based on fraud – was not decided. In fact, the claim of fraud

was not raised either by the parties or the judge so there was no final and complete ruling, and

therefore res judicata does not apply.

            v.    Res judicata would not apply even if the issue of fraud was raised in the prior
                  court.
                  a. Res Judicata does not apply even when fraud is raised in the prior court
                     because the state definition of fraud is different from the bankruptcy court
                     definition of fraud.
        Even if the Respondent had pleaded all the elements that would give rise to non-

dischargeability and then obtained a default judgment in state court, courts have held that res

judicata does not apply under Brown v. Felsen.26 The Brown court reasoned that “considerations



26
  Brown v. Felsen, 99 S. Ct. 2205 (1979); See also, In re Eskenazi, 6 B.R. 366, 368 (B.A.P. 9th Cir. 1980); In re
Iannelli, 12 B.R. 561, 563 (Bankr. S.D.N.Y. 1981); Franks v. Thomason, 4 B.R. 814, 821 (Bankr. N.D. Ga. 1980); In
re Mckenna, 4 B.R. 160, 162 (Bankr. N.D. Ill. 1980); In re Mallory, 1 B.R. 201 (Bankr. N.D. Ga. 1979). See also In
re McMillan, 579 F.2d 289 (3d Cir. 1978).
                                                 Page 14 of 33
           Case 1-13-44897-ess           Doc 45      Filed 07/12/19   Entered 07/12/19 10:06:46




material to discharge are irrelevant to the ordinary collection proceeding since the creditor sues on

the instrument which created the debt and not on the other factors which are involved in bankruptcy

proceedings.27 It further reasoned that even if fraud issues are presented in state court, since the

state law concept of fraud is different from the bankruptcy court definition of fraud, the elements

are not identical.28 For example, the Bankruptcy Act requires actual fraud perpetrated by the debtor

on the creditor. Fraud implied by law is insufficient.29

            The Brown court explained that refusing to apply res judicata would permit the bankruptcy

court to make an accurate determination regarding the fraud issue.30 The court further stated that

this is the type of question Congress intended that the bankruptcy court would resolve. 31 It

concluded that the bankruptcy court is not confined to a review of the judgment and record in the

prior state-court proceedings when considering the dischargeability of the debt, since the state

courts are not the appropriate forum for those decisions, while the bankruptcy courts are well suited

to adjudicate them.32

            Here, the state court did not decide the issue of dischargeability based on fraud, nor did

Respondents plead the necessary elements for fraud. Regardless, even if dischargeability based on

fraud was raised, the law provides that res judicata does not apply and the issue of dischargeability

must be decided by reopening this case in this bankruptcy court.

                     b. Res Judicata does not apply even when fraud is raised in the prior court
                        because such application would undercut congressional intent.



27
     Brown v. Felsen, 99 S. Ct. 2205 (1979).
28
     Id. at 2211.
29
     See 1A Collier on Bankruptcy ¶ 17.16[3] (14th ed. 1978).
30
     Brown v. Felsen, 99 S. Ct. 2205 (1979).
31
     Id.
32
     Id.
                                                    Page 15 of 33
           Case 1-13-44897-ess         Doc 45      Filed 07/12/19       Entered 07/12/19 10:06:46




            The Brown Court reasoned that the adoption of a policy of res judicata would undercut

congressional intent to commit bankruptcy-specific issues like dischargeability to the jurisdiction

of the bankruptcy court.33

              vi.    Res judicata does not preclude the court from looking behind the state court
                     record in deciding the question of dischargeability.
            It is well settled that the court will look behind a note, a mortgage, or even a judgment, to

ascertain the nature of the debt, and, if it is ascertained to be one which a discharge in bankruptcy

does not bar, it will be so adjudged.34 Courts have refused to apply res judicata in determining the

dischargeability of debts previously reduced to judgment.35

            Even though some courts have applied res judicata and refused to go behind the state record

to establish fraud, in those cases, the prior court had made a decision that liability was specifically

one for damages arising out of breach of contract, and not fraud, unlike the instant case.36 Those

courts held that when a creditor could have raised the fraud claim in state court, res judicata bars

it from being litigated in a second court. However in the instant case there was no opportunity to

raise the fraud claim (see discussion of nature of state court proceeding, below). Furthermore, since

Nicholas, every other court of appeals has rejected res judicata. Disallowing a second court from

going behind the judgment in determining the nature of the indebtedness overlooks two principles

which the cases place beyond dispute: Where an action is brought upon a note, and a discharge in




33
     Id.
34
     Township of Madison v. Dunkle, 114 Ind. 262, 16 N.E. 593; American Sur. Co. v. McKiearnan.
35
     Fidelity & Casualty Co. v. Golombosky, 133 Conn. 317, 322-324, 50 A.2d 817, 819-820 (1946).
36
     In re Nicholas, 510 F.2d 160.
                                                  Page 16 of 33
         Case 1-13-44897-ess             Doc 45    Filed 07/12/19        Entered 07/12/19 10:06:46




bankruptcy is set up as a defense, proof is admissible to show that the underlying debt was created

by fraud or one of the other excepted causes.37

           In summary, Brown v. Felsen settled the res judicata question faced by bankruptcy courts

when determining whether a debt is non-dischargeable because of fraud, apparently holding that

res judicata does not apply. 38 Specifically, when a pre-bankruptcy state court proceeding has

reduced a debt to judgment without commenting on whether the debtor is liable for fraud, the

bankruptcy court will not be limited to the state court record to determine whether the debt is non-

dischargeable because of fraud.

           Because res judicata may govern grounds and defenses not previously litigated, it

blockades unexplored paths that may lead to truth. It therefore is to be invoked only after careful

inquiry. Id. In this case, as in Brown, neither the interests served by res judicata nor the policies of

the bankruptcy act would be well served by foreclosing Petitioner from opening this case in

bankruptcy court, and precluding this court from reopening the case can only serve to block the

path to truth.

              2. Collateral Estoppel

           For these same reasons, this case is not precluded under the doctrine of collateral estoppel.

That doctrine states that once an issue is actually and necessarily determined by a court of

competent jurisdiction, that determination is conclusive in subsequent suits based on a different

cause of action involving a party to the prior litigation.39 In other words, “[w]here a question of




37
     Fidelity & Casualty Co. v. Golombosky, 133 Conn. 317, 322-324, 50 A.2d 817, 819-820 (1946).
38
     Brown v. Felsen, 99 S. Ct. 2205 (1979).
39
  Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 n. 5, 99 S.Ct. 645, 649, 58 L.Ed.2d 552 (1979); Scott, Collateral
Estoppel by Judgment, 56 Harv.L.Rev. 1, 2-3 (1942); Restatement (Second) of Judgments § 68 (Tent. Draft No. 4,
Apr. 15, 1977) (issue preclusion); Montana v. United States, 440 U.S. 147, 153 (1979).
                                                  Page 17 of 33
         Case 1-13-44897-ess            Doc 45      Filed 07/12/19        Entered 07/12/19 10:06:46




fact essential to the judgment is actually litigated and determined by a valid and final judgment,

the determination is conclusive between the parties in a subsequent action on a different cause of

action.”40

           Collateral estoppel effect requires four things: (1) the issue sought to be precluded must be

identical to that involved in the prior action; (2) that issue must have been actually litigated; (3)

the issue must have been material and relevant to the disposition of the first action; and (4) the

determination must have been essential to the prior judgment.41

               i.    Identical Issues
           The first requirement is that the doctrine “must be confined to situations where the matter

raised in the second suit is identical in all respects with that decided in the first proceeding and

where the controlling facts . . . remain unchanged.” 42 Respondents, in their Supplemental

Affirmation of Counsel (Doc. 44), say that the claims are identical since the issue of

dischargeability was raised in the prior case, and they further claim that the issue is the same and,

in both cases, the sole basis for the suit. These statements are incorrect. In the prior suit,

Respondents sought to confirm an arbitration decision rendered on the ground of breach of

contract. When Petitioner argued discharge, Respondents did not argue non-dischargeability under

section 523(a), instead arguing non-dischargeability for omission from the Debtor’s bankruptcy

schedules. This court is not deciding either the contract question or the question of a basic Chapter

7 no-asset notice issue. Rather, the core matter in this suit is the issue of non-dischargeability based




40
     Restatement of Judgments s 68(1) (1942).
41
  1B Moore ¶ 0.443[1]; Haize v. Hanover Ins. Co., 536 F.2d 576, 579 (3d Cir. 1976); See also, Matter of McMillan,
579 F.2d 289 (3d cir. 1978).
42
     Commissioner of Internal Revenue v. Sunnen, 333 U.S. 591, 599-600, 68 S.Ct. 715, 720, 92 L.Ed. 898 (1948).
                                                   Page 18 of 33
           Case 1-13-44897-ess           Doc 45       Filed 07/12/19        Entered 07/12/19 10:06:46




on fraud. This is an entirely different and new matter from the one raised in the prior court, and so

collateral estoppel effect is not given.

            Additionally, this first element of collateral estoppel requires that the first court in

determining the factual issues must have used standards identical to those standards which would

be used by the second court. 43 The fraud-based non-dischargeability issue presented now was

never even raised, let alone litigated, in the prior suit.44 In this manner, the instant case is analogous

to In re Merrill.45 As in Merrill, the issue of fraud was never litigated, so the first requirement of

the principle of collateral estoppel has not been met.

            Moreover, courts have even refused to apply collateral estoppel where the court litigated

the issue of fraud and made an implicit finding of fraud.46 In In re Ross, the court remanded the

case to the bankruptcy court to examine the records and see whether the required knowledge

standard was used in determining fraud. The court held that if the required knowledge standard

was not used or if the bankruptcy court cannot determine the standard used, the fraud issue must

be relitigated.47 Similarly, in Brown v. Felsen the court noted that collateral estoppel effect would




43
  Res Judicata and Collateral Estoppel in Bankruptcy Discharge Proceedings, 37 Wash. & Lee L. Rev. 281 (1980);
In re Ross, 602 F.2d 604, 608 (3d Cir. 1979); In re Merrill, 594 F.2d 1064, 1067 (5th Cir. 1979); 1B Moore ¶ 0.443[1];
Brown v. Felsen, 99 S. Ct. 2205 (1979) (a prior state court decision may have collateral estoppel effect if the state
court determined factual issues using standards identical to those of section 17 of the Bankruptcy Act 11 USC S 35
1976.); Kaspar Wire Works, Inc. v. Leco Engineering & Machine, Inc., 575 F.2d 530, 535-36 (CA5, 1978) (Collateral
estoppel precludes a party from relitigating an issue of ultimate fact that has already been decided in a prior
adjudication.) Stevenson v. International Paper Co., 516 F.2d 103, 110 (CA5, 1975); See Garner v. Giarrusso, 571
F.2d 1330, 1336 (CA5, 1978) (The party asserting the estoppel must show that the issue to be concluded is identical
to an issue decided in the prior litigation, that it was actually litigated, and the decision on the issue must have been
necessary to the prior judgment).
44
   See In re Merrill, 594 F.2d 1064, 1067 (5th Cir. 1979) (finding that since fraud and conversion counts had been
struck from the state court action and were thus never litigated, collateral estoppel did not bar consideration of such
claims subsequently in federal court).
45
     Id.
46
     In re Ross, 602 F.2d 604, 608 (3d Cir. 1979).
47
     Id.
                                                     Page 19 of 33
           Case 1-13-44897-ess           Doc 45     Filed 07/12/19        Entered 07/12/19 10:06:46




be given to a prior state court decision which litigated the issue of fraud, if the state law standards

for fraud are identical to the Bankruptcy Act standards.48 In the instant case, there is no evidence

that the issue of fraud was raised before. And even if Respondents argued that the issue of fraud

was litigated in arbitration, they would still have to show that the standard the arbitrators used is

identical to the knowledge standard required for fraud under section 523(a).

              ii.    Actually Litigated
            Collateral estoppel secondly requires that the issue must have actually been litigated and

adjudicated in the prior action through a trial on the merits in which issues were fully adjudicated,

meaning that the court made specific findings concerning the issue based on bankruptcy

standards.49 Here, there was no litigation or actual adjudication through a trial on the merits in

which the issue of non-dischargeability based on fraud was decided.

            Russel v. Place is instructive. There, the “actual adjudication” element was illustrated by

the situation where a creditor sues a debtor based on breach of contract and fraud. 50 The court

decided that if the court addresses only the breach issue and does not address the fraud issue, there

is collateral estoppel only with respect to the breach. The fraud issue was not adjudicated.51

            Here, the state court decided only the contract issue (and also decided non-dischargeability

based on omission from schedules), but it did not address any issue of fraud as a basis for non-

dischargeability. As in Russel, there was no “actual adjudication” of the fraud issue, only the




48
     Brown v. Felsen, 99 S. Ct. 2205 (1979).
49
  Res Judicata and Collateral Estoppel in Bankruptcy Discharge Proceedings, 37 Wash. & Lee L. Rev. 281 (1980);
In re Ross, 602 F.2d 604, 608 (3d Cir. 1979); In re Merrill, 594 F.2d 1064, 1067 (5th Cir. 1979); 1B Moore ¶ 0.443[1].
50
     Russel v. Place 94 U.S. 606, 609-10 (1876).
51
     Id.
                                                   Page 20 of 33
           Case 1-13-44897-ess          Doc 45    Filed 07/12/19   Entered 07/12/19 10:06:46




contract issue. Therefore, collateral estoppel, if at all applicable, only applies to the breach, and

not to the question of fraud.

            Under Russel, collateral estoppel requires that “the precise question” (i.e. the question of

fraud) was raised in the former suit and that the verdict could not have been rendered without

deciding it. Any uncertainty or conjecture as to what was tried and decided means that “the whole

subject-matter of the action will be at large and open to a new contention” and collateral estoppel

does not apply.52

            Here, fraud-based non-dischargeability was not tried, determined, or even raised until now.

There is no evidence that the state-court verdict and judgment contemplated any fraud. Since

estoppel must “be certain to every intent,” and here there is conjecture as to what was involved

and decided, there is no estoppel.53

            In their Attorney’s Affirmation in Opposition, Respondent cite State v. Wilkes as a source

for collateral estoppel effect being given to a prior ruling on the issue of dischargeability. State v.

Wilkes is not persuasive. In State, the parties actually litigated the question of whether there is

dischargeability of student loans when the debtor dies or becomes disabled. In contrast, here, there

was no litigation of the question of non-dischargeability based on fraud.

            Similarly, in Respondent’s Supplemental Affirmation of Counsel (Doc. 44), they reference

the Graubard Affirmation which states that state courts and bankruptcy courts have concurrent

jurisdiction to determine discharge, citing In re Massa. In re Massa.54 They argue that the Graham

court ruled on the specific issue of the claim not being listed on the schedules and decided that the




52
     Id.
53
     Id.
54
     187 F.3d 292 (2d Cir. 1999) 187 F.3d 292.
                                                 Page 21 of 33
       Case 1-13-44897-ess            Doc 45       Filed 07/12/19        Entered 07/12/19 10:06:46




claim survived discharge. They further state that Debtor had ample opportunity to litigate the issue

of dischargeability in the state court.

        The law that the Respondents cite is materially distinguishable from the instant. In Massa,

the first case was based on the claim of fraud and false representation, and state court order

explicitly determined that the debt was not discharged under sections 523(a)(2) and 523(a)(3).

Applying the Rooker-Feldman doctrine, the bankruptcy court held that it lacked jurisdiction to

overturn the State Court Decision.

        However, in the instant case, the state court never examined fraud claims, so the Rooker-

Feldman doctrine is irrelevant. So, while in some cases state courts have the power, subject to

statutory exception, to determine the effect of a bankruptcy discharge, this is limited to cases where

the state court actually litigated the relevant issues. Here, fraud was never litigated.55

        Additionally, the contention that Petitioner had an opportunity to litigate an issue is of no

moment. First, to the contrary, this second element of collateral estoppel requires that a matter be

actually litigated. Second, Petitioner never actually had an opportunity to fully litigate the issues

under the narrow scope of the state-court hearing. Third, Petitioner could never have raised the

issue of fraud on her own because (a) there was no fraud and (b) Respondents never alleged it.

                  a. Just as collateral estoppel effect is not given to default judgments (even when
                     fraud is litigated), no collateral estoppel effect should be given to the instant
                     judgment in which the state court merely enforced an arbitration award.
        The state court confirmation proceeding was so limited that Petitioner could not have raised

the instant issues. In analyzing collateral estoppel (and res judicata), courts must examine the




55
  Additionally, case law reflects that even when the general rule of concurrent jurisdiction applies, the bankruptcy
court has exclusive jurisdiction to determine whether a debt is excepted from discharge under §§ 523(a)(2), (4), and
(6). In re Lopez, 2012 WL 3499444 at *4 (Bankr. S.D. Tex. 2012).
                                                  Page 22 of 33
       Case 1-13-44897-ess              Doc 45       Filed 07/12/19         Entered 07/12/19 10:06:46




nature of the prior judgment. Arbitration confirmation proceedings serve solely to enforce

arbitration awards, and the state court is bound by statute and case law limiting its discretion.56

         In the instant case, there was no evidence of corruption, fraud, partiality or misconduct of

the arbitrators, and the arbitrators were within their power in making a definite and final award

regarding the matter of the debt, and in deciding whether a contract existed and was breached.

Therefore, there was no reason for the state court to vacate the order. 57 Thus, Respondents

supposition that Petitioner had “ample opportunity to litigate” the issue in state court is, of course,

incorrect.58

         It is also well settled that an arbitration award is not subject to judicial review for errors of

law, for once the issue is properly before the arbitrator, questions of law and fact are merged in the

award and are not within the power of the judiciary to resolve.59 As a matter of fact, even if the

court disagrees with the arbitrator’s interpretation, or finds that the arbitrator misconstrued,


56
  Rochester City School Dist. V. Rochester Teachers Assn., 41 N.Y.2d 578, 394 N.Y.S.2d 179, 362 N.E.2d 977. The
New York rules of civil procedure provide an extremely narrow basis for vacating an arbitration award, with most
grounds requiring corruption, fraud, partiality or misconduct of the arbitrators, or proof that the arbitrators exceeded
their power or failed to make a definite and final award.
57
  Other cases have held that courts will uphold arbitration awards “unless it is violative of a strong public policy, is
totally irrational, or clearly exceeds a specifically enumerated limitation on the arbitrator's power”. Matter of
Hausknecht v Comprehensive Med. Care of N.Y., P.C., 24 AD3d 778, 779 [2005]; Matter of Town of Callicoon [Civil
Serv. Empls. Assn., Town of Callicoon Unit] 70 NY2d 907, 909 [1987]; Matter of Allstate Ins. Co. v. Nicolosi, 227
AD2d 552 [1996]. Matter of Silverman [Benmor Coats], 61 NY2d 922, 308; Matter of Board of Educ. V. Dover-
Wingdale Teachers’ Asn., 61 NY2d 913; Matter of Local Div. 1179 [Green Bus Lines], 50 NY2d 1007; Rochester
City School Dist. V. Rochester Teachers Assn., 41 NY2d 578. An award is irrational if there is no proof whatever to
justify the award or the award gave a completely irrational construction to the provisions in dispute and, in effect,
made a new contract for the parties. Matter of Silverman [Benmor Coats], 61 N.Y.2d 299, 308, 473 N.Y.S.2d 774,
461 N.E.2d 1261. Matter of National Cash Register Co. (Wilson), 8 N.Y.2d 377, 383, 208 N.Y.S.2d 951, 171 N.E.2d
302). Matter of Rockland County Bd. of Coop. Educ. Servs. v BOCES Staff Assn., 308 AD2d 452 [2003]. Short of
these objections, state courts will not vacate arbitration awards.
58
 See In the Matter of Liberty Mutual Insurance Company, Appellant v. Sedgewick of New York, Respondent. see
Matter of DiNapoli v Peak Automotive, Inc. 34 AD3d 674, 675 (2006).
59
  See Matter of Matra Bldg. Corp. v Kucker, 2 AD3d 732 (2003); Matter of Windsor Metal Fabrications v. Vescom
Sys., 280 A.D.2d 607, 608, 720 N.Y.S.2d 804; see also, Matter of SCM Corp. v. Fisher Park Lane Co. 40 N.Y.2d 788,
793, 390 N.YS.2d 398, 358 N.E.2d 1024; North Syracuse Cent. School Dist. v North Syracuse Educ. Assn., 45 NY2d
195 (200l); Matter of Binghamton Civ. Serv. Forum v. City of Binghamton, 44 NY2d 23, 28.
                                                    Page 23 of 33
           Case 1-13-44897-ess           Doc 45      Filed 07/12/19   Entered 07/12/19 10:06:46




disregarded, or misapplied substantive rules of law, that is still not a sufficient basis for the court

to modify or vacate the award.60

            Considering that the nature of the state court proceeding precluded the state court from

examining the issues, litigating, or adjudicating them, this type of suit is similar to a default

judgment, and the law regarding the application of collateral estoppel (and res judicata), in default

judgments is equally applicable here.

            The Restatement states that a default judgment has no collateral estoppel effect. 61 In fact,

it considers an application of collateral estoppel in cases of default judgments to be an “oppressive

application of the doctrine” which “misconceives the nature of a default judgment”, in which issues

are not actually litigated.62 Cases which have given collateral estoppel effect to default judgments

were decided prior to the amendments.63 However, there is general agreement in courts today that

collateral estoppel does not apply to cases of default judgments.64

            In the bankruptcy context, the majority allows relitigating factual issues determined by the

state court regarding the question of fraud so as not to defeat a major federal policy of granting

exceptions to discharge only in certain circumstances specified by the bankruptcy Act.65 This also

protects the system from abuse of creditors who would go to state courts seeking default judgments

in cases of bankruptcy, instead of raising those issues in the appropriate forum: bankruptcy court.66




60
  Matter of Local Div. 1179 [Green Bus Lines], 50 N.Y.2d 1007, 431 N.Y.S.2d 680, 409 N.E.2d 1354; Matter of
Albany County Sheriff's Local 775 [County of Albany], 63 NY2d 654.
61
     The Restatement, Comments D and E, section 68 (1942).
62
     1B Moore ¶ 0.444(2) at 4006-07.
63
     See, e.g., Heiser v. Woodruff 327 U.S. 726 (1946).
64
     Id.
65
  See Volume 1A Collier on Bankruptcy, (14th Ed.), P 17.16, pp. 1650-1650.3; Cowan's Bankruptcy Law and
Practice, Supplement, s 433 at p. 102 (1973).
66
     In re McMillan, 579 F.2d 289 (3d Cir. 1978).
                                                    Page 24 of 33
         Case 1-13-44897-ess            Doc 45        Filed 07/12/19       Entered 07/12/19 10:06:46




           The opinion that default judgments fall outside the scope of the doctrine of collateral

estoppel is widely accepted.67 Just as collateral estoppel does not apply to default judgments, it

does not apply to the enforcement of an arbitration award in which there was no chance to decide

issues. To give collateral estoppel effect to the instant case would feed directly into Congress’

concern of abuse by creditors that the restatement tried to protect against: that is, where creditors

find back-door options, like ADR, to achieve judgment in their favor.

           In re McGhan dealt with the question of the collateral estoppel effect on a default judgment

for the creditor in state court. That court held that even if a default judgment is obtained by the

creditor, the debtor should be able to litigate the dischargeability issue in bankruptcy court. 68 The

court found that the bankruptcy court abused its discretion in refusing to reopen a case to decide

whether debt was non-dischargeable under section 523(a)(3) and whether the discharge injunction

was violated. Further, it found that the state court’s order that the debt was not discharged

improperly modified the bankruptcy court’s discharge order.

           As in McGhan, the state court suit was analogous to a default judgment, and so this court

should reopen the case to decide whether the debt was non-dischargeable based on fraud. If the

Debtor is correct in asserting that the debt was discharged, the creditor’s judgment would be void

under 11 U.S.C. § 524(a) (see full discussion, below).

           In McMillan, which is remarkably similar to the instant case, the court refused to give

collateral estoppel effect to a prior state court decision since, as a default judgment, the required




67
  In re Garland, 401 F. Supp. 608, 610 n.3 (E.D. Pa. 1975) (default judgment has no collateral estoppel effect in later
suits involving different matters); In re Wong, 5 Bankr. Ct. Dec. 222, 225 (D. Ore. 1979) (default judgment doesn't
give rise to rebuttable prima facie case of fraud); In re Conway, 3 Bankr. Ct. Dec. 365, 366 (N.D. Tex. 1977) (issues
not litigated in default judgment); In re Garrard, 3 bankr. Ct. dec. 223, 225 (N.D. Ga. 1977).
68
     In re McGhan, 288 F. 3d 1172 (9th Cir. 2002).
                                                     Page 25 of 33
           Case 1-13-44897-ess           Doc 45      Filed 07/12/19   Entered 07/12/19 10:06:46




elements for bankruptcy fraud had not been properly litigated.69 There, a creditor filed a complaint

of non-dischargeability based on fraud several months after the entry of the discharge order. On

appeal from the bankruptcy court, the third Circuit ruled the Bankruptcy court was “still bound to

ascertain . . . that the elements of an exception to dischargeability established by s 17a(2), have

been fully proven by the Plaintiff,” and he added that this cannot be accomplished by mere

reference to the wording of an earlier judgment. 70 Rather, the court must review the prior

proceedings and determine whether the plaintiff had shown the elements of conduct required under

that section.71 The reason that the parties were not barred from relitigating facts necessary to the

judgment rendered by the state court was because the bankrupts did not “actually litigate” the prior

case or demonstrate that judgment can collaterally estop them from relitigating the same issues in

the bankruptcy case.

            This holding is consistent both with general rules of collateral estoppel and with the federal

policies in bankruptcy cases. 72 In this manner, the court simultaneously ruled that a default

judgment has no collateral estoppel effect, and that where bankrupts did not “actually litigate”

state case in which creditor obtained default judgment against them on ground of fraud and

misrepresentation, not even facts which were necessary to that judgment could collaterally estop

them from relitigating the same issues in bankruptcy case when creditor sought ruling that claim

was nondischargeable because of fraud.73 In the instant case, there was also no opportunity to




69
     In re McMillan, 579 F.2d 289 (3d Cir. 1978).
70
     Id.
71
     Id.
72
     See 1B Moore ¶ 0.419(3. 6), at p. 3121.
73
     In re McMillan, 579 F.2d 289 (3d Cir. 1978).
                                                    Page 26 of 33
         Case 1-13-44897-ess             Doc 45     Filed 07/12/19       Entered 07/12/19 10:06:46




litigate in the prior court and therefore the same principles regarding application of collateral

estoppel to a default judgment apply here.

             iii.    Materiality and Relevance

           The third requirement for collateral estoppel to apply is that the issue must have been

material and relevant to the disposition of the first action. If the first court decided a matter related

to the facts at issue, but the determination of the related matter was not material to the disposition

of the first action, the determination of the related matter has no collateral estoppel effect on any

subsequent action.74 Here, the first action centered on whether a debt was owed by Petitioner; the

issue of fraud-based dischargeability was immaterial and irrelevant to that action.

           In Landon v. Clark, the court held that a judgment in a prior suit does not operate as an

estoppel as to immaterial facts.75 Here, as in Landon, the claim in the prior action centered around

the question of contract and breach; the new demand of non-dischargeability based on fraud was

immaterial to that case, and was never litigated. Rather, this issue is a new claim.

              iv.    Essential and Necessary

           The fourth requirement for collateral estoppel to apply is that the determination of the issue

was essential and necessary to the prior judgment. The situation where a creditor sues to recover

a debt and bases the claim on breach of contract and fraud illustrates the essential and necessary

requirement. If the first court renders a general verdict in favor of the creditor but is silent as to

whether the creditor prevailed on the contract issue or the fraud issue, there is no collateral estoppel

effect given to either the contract issue or the fraud issue.76



74
     Res Judicata and Collateral Estoppel in Bankruptcy Discharge Proceedings, 37 Wash. & Lee L. Rev. 281 (1980).
75
     Landon v. Clark, 221 F. 841 (2d Cir. 1915).
76
     Res Judicata and Collateral Estoppel in Bankruptcy Discharge Proceedings, 37 Wash. & Lee L. Rev. 281 (1980).
                                                   Page 27 of 33
         Case 1-13-44897-ess           Doc 45       Filed 07/12/19         Entered 07/12/19 10:06:46




           In the present case, not only did the first court remain silent as to the reason it rendered a

verdict in favor of the creditor, the issue of fraud was never even raised by the parties, nor was it

reflected in the final judgment. In an alternate situation where the first court specifically determines

that there was a breach of contract but not fraud, the problem presented by the essential and

necessary requirement becomes more acute. Although collateral estoppel effect will be given to

the contract issue, the majority rule does not give collateral estoppel effect to the fraud issue.77

Here, the court determined there was a breach of contract, but not fraud. Therefore, under the

fourth requirement, collateral estoppel effect is not given to the fraud issue.

              v.     Since the state court judgment is void ab initio, there is no estoppel.

           Finally, there is no need for the bankruptcy court to give deference to the state court

judgment since the judgment was void ab initio. In Chapter 7 cases, the discharge automatically

voids any judgment obtained at any time to the extent such judgment is a determination of the

debtor’s personal liability on a discharged debt.78 Thus, even if a creditor proceeded to judgment

after the bankruptcy, that judgment would be void ab initio.79 Since the state court made a decision

regarding a discharged debt, the judgment is void ab initio and this court need not defer to it.

              vi.    The issue of dischargeability is under the exclusive jurisdiction of bankruptcy
                     courts.




77
     1B Moore ¶ 0.443[5].
78
     11 U.S.C. § 524(a)(1).
79
  In re Gurrola, 328 B.R. 158 (B.A.P. 8th Cir. 2005) (equitable estoppel did not permit creditor to enforce judgment
that was void under section 524(a)(1)); In re Fernandez-Lopez, 37 B.R. 664 (B.A.P. 9th Cir. 1984) (permitting
collateral attack in bankruptcy court on judgment obtained in violation of discharge); L.F. Rothschild & Co. v. Angier,
84 B.R. 274 (D. Mass. 1988); In re Dabrowski, 257 B.R. 394 (Bankr. S.D.N.Y 2001) (bankruptcy judge not required
to give deference to judgment that was void under section 524(a)(1)). See In re Levy, 87 B.R. 107 (Bankr. N.D. Cal.
1988) (state court default judgment on claim that debt was not discharged is void when debt was, in actuality,
discharged).
                                                   Page 28 of 33
           Case 1-13-44897-ess           Doc 45      Filed 07/12/19        Entered 07/12/19 10:06:46




            Even assuming, arguendo, that collateral estoppel or res judicata apply, this Court can still

hear this case because Congress intended the bankruptcy courts to have exclusive jurisdiction of

bankruptcy-specific issues.

            In Brown v. Felsen, the Supreme Court held that even after a judgment by stipulation was

entered in state court, the bankruptcy court should go outside the state court record to hear evidence

on dischargeability issues. 80 The Court reasoned that applying res judicata to preclude the

bankruptcy court from deciding the issue of dischargeability would frustrate congressional policy

and intent to commit bankruptcy-specific issues to the bankruptcy courts. In McMillan, the court

stated that the 1970 amendments to the Bankruptcy Act vested the bankruptcy courts with

exclusive jurisdiction on questions of exceptions to discharge.81 The Supreme Court reasoned that

giving res judicata effect to state court proceedings would be inconsistent with the 1970

amendments. 82 In another case, the Court held that even when the general rule of concurrent

jurisdiction applies, the bankruptcy court has exclusive jurisdiction to determine whether a debt is

excepted from discharge under section 523(a)(2), (4), and (6).83

            In the Attorney’s Affirmation in Opposition, Respondents argue that, “the case law is

absolutely clear and “settled that state courts have ‘the power, subject to statutory exception, to

determine the effect of a [bankruptcy] discharge.”84 Aside from the factual distinctions between

that case and this one—in Gianopolous, the Complaint included the issue of non-dischargeability

based on fraud and the default in that case occurred post-petition—it has been firmly established




80
     Brown v. Felsen, 99 S. Ct. 2205 (1979). 442 U.S. 127, 99 S. Ct. 2205, 60 L. Ed 2d 767 (1979).
81
     In re McMillan, 579 F.2d 289 (3d Cir. 1978).
82
     Id.
83
     In re Lopez, 2012 WL 3499444 at *4 (Bankr. S.D. Tex. 2012).
84
     Matter of Gianopolous, 579 F.2d 289 (3d cir. 1978).
                                                    Page 29 of 33
           Case 1-13-44897-ess          Doc 45       Filed 07/12/19         Entered 07/12/19 10:06:46




that Congress intended the dischargeability cause of action to be decided only in the bankruptcy

courts.85

            In In re Pigge, the court held that in a proceeding to determine the dischargeability of a

provable debt, the court may go beyond the record of the state court judgment and examine the

circumstances on which the judgment was based. 86 The bankrupt argued that the state court

judgment was based on the contract count, which fixed the nature of the objecting creditor's claim

for purposes of dischargeability in bankruptcy.87 Specifically, the debtor took the position that the

Bankruptcy Court could not go behind the state court judgment or consider any evidence outisde

the state record in ruling on dischargeability of the dissenting creditor's debt.88 In answer, the court

stated that section 17(a)(2) of the Bankruptcy Act declares that the exclusive jurisdiction to

determine whether a debt is dischargeable is in Bankruptcy Court.89 And when that debt has been

previously reduced to judgment in a state court, the Bankruptcy Court, in the exercise of its

exclusive jurisdiction to determine dischargeability, may look behind the judgment itself to the

nature of the debt for which judgment was entered. In so doing, it is not confined to the state-court

record; it may, when necessary to ascertain the nature of the debt, admit and consider extrinsic

evidence.90




85
   In re Shuler, 722 F.2d 1253 (5th Cir. 1984); Carey Lumber co. v. Bell, 615 F. 2d 370 (5th Cir. 1980); In re Houtman,
568 F.2d 651 (9th Cir. 1978); In re Eskenazi, 6 B.R. 366 (B.A.P. 9th Cir. 1980); In re Tessman, 5 bankr. Ct. dec. 435,
(there should be no collateral estoppel effect given to a prior state court decision when the bankruptcy court determines
whether a debt is excepted from discharge by s 17a8 of the bankruptcy act which excepts willful and malicious
injuries).
86
     Matter of Pigge, 539 F.2d 369 (1976).
87
     Id.
88
     Id.
89
     Id.
90
     Id.
                                                    Page 30 of 33
           Case 1-13-44897-ess           Doc 45      Filed 07/12/19        Entered 07/12/19 10:06:46




            Collier on Bankruptcy distinguishes a prior state court judgment based on liability from a

subsequent bankruptcy case based on the issue of dischargeability, not on liability. 91 For the

purposes of determining the dischargeability of the liability, the bankruptcy court should not be

bound by the findings of the state court.92

            Similarly, in another case in which a prior court had decided a liability issue, the court held

that it was permissible, even necessary in the circumstances, for the bankruptcy court to inquire

into the nature of the liability in order to determine whether it falls within the Bankruptcy Act, and

further to inquire into the circumstances surrounding the creation of the debt or the entry of the

judgment.93

            The court in Fierman94 took it a step further: where a judgment is involved and bankruptcy

is pleaded as a bar to plaintiff's action on the judgment, the court is not concluded by the form of

judgment, by recitals of the judgment, by the form of action nor even by the allegations of

plaintiff's complaint but may resort to and examine the entire record to determine the character of

the claim and whether it comes within the purview of 11 U.S.C. § 35. 95 Furthermore, in

determining the nature of defendants' original liability, the Court may, in the instant case, hear

extrinsic evidence to aid that determination.96 As here, the state-court judgment in Fierman did




91
     1A Collier on Bankruptcy § 17.16 (14th ed. 1975).
92
     Id.
93
   In re Johnson (3d Cir. 1963) 323 F.2d 574, 578; Martin v. Rosenbaum (9th Cir. 1964) 329 F.2d 817, 820; Greenfield
v. Tuccillo (2d Cir. 1942) 129 F.2d 854, 856; Fierman v. Lazarus (E.D.Pa.1973) 361 F.Supp. 477, 480, aff'd (3d Cir.)
493 F.2d 1400.
94
     Fierman v. Lazarus (E.D.Pa.1973) 361 F.Supp. 477, 480, aff'd (3d Cir.) 493 F.2d 1400.
95
  Id.; see also In Re Riley, 266 App.Div. 160, 43 N.Y.S.2d 753, appeal dismissed, 294 N.Y. 825, 62 N.E.2d 245
(1943); Personal Finance Corporation v. Robinson, 27 N.Y.S.2d 6 (Sup.1941).
96
   Martin v. Rosenbaum, 329 F.2d 817 (9th Cir. 1964); Greenfield v. Tuccillo, 129 F.2d 854 (2nd Cir. 1942); Welsh
v. Old Dominion Bank, 229 A.2d 455 (D.C.App.1967); Levin v. Singer, 227 Md. 47, 175 A.2d 423 (1961); National
Surety Co. v. Lanza, 42 N.Y.S.2d 370 (Sup.1943).
                                                    Page 31 of 33
            Case 1-13-44897-ess          Doc 45         Filed 07/12/19         Entered 07/12/19 10:06:46




not specify it was based on fraud. As discussed, this court must look beyond the judgment and

examine the underlying cause of action in determining the nature of defendants' liability.97

                     a. Exclusive jurisdiction applies even when the fraud issue was litigated in the
                        prior court.
             Some courts have gone so far as to hold that a bankruptcy court should not give collateral

estoppel effect to a prior state court decision even when the state court litigated the issue of fraud.98

Houtman reasoned that the 1970 amendments allowed no room to collaterally estop a state court

decision, instead vesting the bankruptcy courts with the exclusive jurisdiction to decide

dischargeability.99 The court stated that the expertise of the bankruptcy court would be impaired if

the court gave collateral estoppel effect to a prior state court’s factual findings.100

             In In re Herman, the court applied collateral estoppel after it found that the state-law

standards and bankruptcy standards were virtually identical and the state-court jury in that case

could have found fraud.101 However, that case was decided before Brown v. Felsen, when the

precedent for bankruptcy courts to hear issues of non-dischargeability was set. It distinguishable

because there the state court considered the elements of fraud, whereas here the court never did.102

             Like Herman, the case of Heiser suggested that there was no countervailing statutory

policy against applying collateral estoppel when a prior state court decided the issue of




97
     See In Re Johnson, 323 F.2d 574 (3rd Cir. 1963).
98
     In re Houtman, 568 F.2d 651 (9th Cir. 1978).
99
     Id.
100
      Id.
101
      In re Herman, 6 B.R. 352 (D.C., S.D.N.Y.1980).
102
   This same distinction applied between the instant case and Houtman as well. Even if Houtman allows collateral
estoppel effect to be given, that interpretation does not apply to the instant case in which the state court did not consider
the issue of fraud at all.
                                                      Page 32 of 33
         Case 1-13-44897-ess             Doc 45      Filed 07/12/19    Entered 07/12/19 10:06:46




dischargeability. 103 But, like Herman, Heiser was decided prior to the passing of the 1970

amendments.

           Similarly, in In re Walshak, the court gave collateral estoppel effect to a state court decision

regarding dischargeability. Yet that was only because the state court made specific findings of

fraud based on the bankruptcy standards.104 In the instant case, the court did not consider the issue

of fraud.105

           In contrast, In re Pigge is analogous to the instant case since the issue of fraud was not

litigated in the state court; only issues “which have been necessarily litigated” in state court are

entitled to res judicata and collateral estoppel effect.106

IV.        CONCLUSION

           For the foregoing reasons, Debto respectfully requests that the Court grant Debtor’s motion

to reopen this bankruptcy case.

Dated: Brooklyn, New York                              Respectfully submitted,
       July 11, 2019
                                                       /s/ Joseph Y. Balisok
                                                       Joseph Y. Balisok
                                                       Balisok & Kaufman, PLLC
                                                       Attorneys for Debtor
                                                       251 Troy Avenue
                                                       Brooklyn, NY 11213
                                                       Tel. No. (718) 928-9607
                                                       Fax No. (718) 534-9747
                                                       Email: joseph@lawbalisok.com




103
      Heiser v. Woodruff 327 us 726 (1946).
104
      In re Walshak, 3 Bankr. Ct. Dec. 118, 119 (W.D. Pa. 1977).
105
      In re Walshak, 3 Bankr. Ct. Dec. 118, 119 (W.D. Pa. 1977).
106
      Matter of Pigge, 539 F.2d 369 (1976).
                                                    Page 33 of 33
